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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 18-61877-civ-Moreno/Seltzer

  HUDSON TREVISAN,
  EDWARD SALVATORE TEAGUE,
  FARAZ KHAN,

                   Plaintiffs,
  v.

  P.I.P. INC.,
  WAYNE P. TEAGUE,

              Defendants.
  __________________________________/

                      PLAINTIFFS’ RESPONSE IN OPPOSITION TO
                DEFENDANTS’ SECOND MOTION TO COMPEL ARBITRATION
                     AND INCORPORATED MEMORANDUM OF LAW

            Plaintiffs, Hudson Trevisan, Edward Salvatore Teague, and Faraz Khan, by and through

  the undersigned counsel, hereby respond in opposition to Defendants’ Renewed Motion to Stay

  Proceedings and Compel Arbitration and Incorporated Memorandum of Law [DE 43] (“Second

  Motion”),1 and in support state the following:

       I.      Plaintiffs did not sign the alleged agreements.

            Attached as Exhibit A, Exhibit B, and Exhibit C are the affidavits of Plaintiffs Teague,

  Trevisan, and Khan respectively. As stated in paragraph 3 of Plaintiffs’ affidavits, Plaintiffs did not

  sign the alleged agreements filed at DE 30-1, DE 30-2 (refiled at DE 43-1 and DE 43-2), and DE

  43-3. Plaintiffs did not agree to arbitrate their claims. Plaintiffs demand a jury trial on all issues so

  triable that pertain to the alleged arbitration agreements filed at DE 30-1, DE 30-2 (refiled at DE



  1
   Defendants originally filed Defendants’ Motion to Stay Proceedings and Compel Arbitration and
  Incorporated Memorandum of Law [DE 30] (“First Motion”) containing almost verbatim the same
  arguments contained in Defendants’ Second Motion.
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  43-1 and DE 43-2), and DE 43-3 including Defendants’ Motion and the enforceability of

  Defendants’ alleged arbitration agreements.

                Because it is well established that “parties cannot be forced to
                submit to arbitration if they have not agreed to do so,” a district
                court, rather than a panel of arbitrators, must decide whether a
                challenged agreement to arbitrate is enforceable against the parties
                in question. Chastain v. Robinson–Humphrey Co., 957 F.2d 851,
                854 (11th Cir.1992). We have said that a party seeking to avoid
                arbitration must unequivocally deny that an agreement to arbitrate
                was reached and must offer some evidence to substantiate the
                denial. Id. More specifically, we require a party resisting arbitration
                to “substantiate[ ] the denial of the contract with enough evidence to
                make the denial colorable.” Wheat, First Secs., Inc. v. Green, 993
                F.2d 814, 819 (11th Cir.1993) (quotation and citation omitted).
                Once an agreement to arbitrate is thus put “in issue,” the Federal
                Arbitration Act (FAA) requires the district court to “proceed
                summarily to the trial thereof” and if the objecting party has not
                requested a jury trial, “the court shall hear and determine such
                issue.” 9 U.S.C. § 4.

  Magnolia Capital Advisors, Inc. v. Bear Stearns & Co., 272 Fed. Appx. 782, 785 (11th Cir. 2008).

         The argument below from Defendants’ Second Motion was omitted from their First

  Motion:

                Additionally, any “party challenging the validity of a signed agreement
                must do more than assert forgery to bring validity into dispute. To
                create a genuine issue as to whether a signature is forged, the party
                seeking to avoid arbitration must: (1) unequivocally deny that the
                agreement was made and (2) produce “some evidence” to substantiate
                that denial.” Louissant v. Building Services Teks LLC, No. 14-cv-
                61356-UU, 2014 WL 12600555 (S.D. Fla. Aug. 1, 2014)2 (emphasis
                added). Further, the “party seeking to avoid arbitration bears the burden
                of establishing the likelihood of incurring prohibitive arbitration costs,
                which could preclude the party from effectively vindicating his federal
                statutory rights.” Boyd v. Town of Hayneville, AL, 144 F. Supp. 2d 1272,
                1275 (M.D. Ala. May 31, 2001) (“[t]he possibility that a claimant could
                be required to pay a share of the arbitration costs, including part of an
                arbitrator’s fees, is not, by itself, a sufficient reason to invalidate an
                arbitration clause prior to arbitration.”)


  2
   Defendants’ citation to of Louissaint v. Bldg. Serv. Teks LLC, 14-CV-61356-UU, 2014 WL
  12605555 (S.D. Fla. Aug. 4, 2014) contains the wrong Westlaw citation.
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  Second Motion, p. 3.

          Defendants fail to inform the Court that the authority on which they rely, Louissant v.

  Building Services Teks LLC, No. 14-cv-61356-UU, 2014 WL 12600555 (S.D. Fla. Aug. 1, 2014), found

  as sufficient evidence the plaintiff’s sworn declaration that the signature on the purported arbitration

  agreement was a forgery and that the court denied the defendants’ motion to compel arbitration:

                  Defendant moves to compel arbitration of Plaintiff’s claims, and in
                  support attaches to its motion a copy of an employment contract,
                  purportedly signed by Plaintiff, that contains a mandatory
                  arbitration clause. D.E. 6. In response, Plaintiff filed a sworn
                  declaration that the signature is a forgery, that she had never
                  before seen the document and that she has never consented to
                  arbitration. D.E. 8.

                  An arbitration provision is typically sufficient to compel arbitration
                  where neither party disputes the validity of the contract. Chastain v.
                  Robinson-Humphrey Co., Inc., 957 F.2d 851, 854 (11th Cir. 1992).
                  But where the validity of the contract is in dispute, the Court must
                  resolve that issue before it may compel arbitration. Id.

                  A party challenging the validity of a signed agreement must do more
                  than assert forgery to bring validity into dispute. Instead, to create a
                  genuine issue as to whether its signature was forged, the party
                  seeking to avoid arbitration must: (1) unequivocally deny that the
                  agreement was made; and (2) produce “some evidence” to
                  substantiate that denial. Id. (quoting T & R Enterprises, Inc. v.
                  Cont'l Grain Co., 613 F.2d 1272, 1278 (5th Cir. 1980)). The burden
                  to produce “some evidence” is not a heavy one, as there are inherent
                  difficulties in proving a negative. See, e.g., Wheat, First Sec., Inc. v.
                  Green, 993 F.2d 814, 817-18 (11th Cir. 1993) (“[The plaintiff] has
                  absolutely denied that it is bound to arbitrate [the defendant’s]
                  claims and, to the extent it is possible to prove a negative, has
                  offered evidence to prove that there was no agreement to
                  arbitrate.”).

                  Here, Defendant remains silent in the face of Plaintiff’s assertion
                  that the signature is a forgery; the assertion is not refuted and the
                  sworn evidence supporting that assertion is not challenged by
                  contradictory evidence. Under these circumstances, Plaintiff has
                  created a genuine issue as to whether she ever agreed to arbitrate her
                  claims. See id. at 818 (holding that the plaintiff created a genuine
                  issue as to validity where the defendant did not refute evidence that
                  the plaintiff never signed the arbitration agreement). And because
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                 the validity of the contract remains at issue, the Court may not yet
                 compel arbitration.

  Louissaint at *1 (emphasis added).

         Also unique to Defendants’ Second Motion is Defendants’ counsel, Daniel Levine, opining

  for the Court what he thinks about the authenticity of the forged signatures:

                 [T]here is no evidence to the contrary. In fact, all of the Plaintiffs’
                 signatures, including the signatures on the affidavits submitted by
                 Trevisan and Teague in their response in opposition [DE 34], closely
                 resemble the signature on other documents from the Plaintiffs’
                 personnel files. See ¶ 8 of Exhibit “A,” ¶ 9 of Exhibit “B,” ¶ 9 of
                 Exhibit “C” and composite Exhibit “D”.

  Second Motion, pp. 6-7.

         Defendants’ counsel’s assertion that “there is no evidence to the contrary” is rebutted by

  evidence to the contrary: the sworn affidavits of Plaintiffs asserting that the signatures on the

  purported agreements are fraudulent. See Exhibit A, Exhibit B, and Exhibit C.

         Defendants’ forged agreement for Plaintiff Khan could not even spell his name correctly:




         Defendants’ counsel is not qualified as a handwriting expert and his opinion regarding the

  authenticity of the forged signatures is entitled to zero weight in the Court’s determination of

  Defendants’ motions. Notably, Defendants had access to several of Plaintiffs’ signatures pursuant

  to their employments before Defendants submitted the forged signatures to the Court.
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        II.      The alleged agreements improperly deny Plaintiffs’ right to recover fees and costs
                 under the FLSA.

              The alleged agreements are unenforceable because they deny a substantive right of the Fair

  Labor Standards Act: the right to recover fees and costs pursuant to 29 U.S.C. § 216(b).

              The alleged agreements contain this provision that renders the agreements unenforceable:

  “Each party to any arbitration will pay its own fees and expense, including attorney fees and will

  share other fees of arbitration.”3 See, e.g., Morrison v. Circuit City Stores, Inc., 317 F.3d 646, 669

  (6th Cir. 2003) (en banc) (district court erred in “holding that the cost-splitting provision in the ...

  arbitration agreement was enforceable”); Silva v. Miller, 307 Fed.Appx. 349, 351 (11th Cir. 2009)

  (the FLSA “provides for reasonable attorney’s fees [and] the parties cannot contract in derogation

  of FLSA’s provisions”).

              Notably, this provision in the alleged agreements does not leave any discretion with the

  arbitrator to decide to award any fees and costs. Instead, the alleged agreements explicitly prohibit

  Plaintiffs’ right to recover their fees and costs. The alleged agreements contravene the FLSA and

  are unenforceable.

                     A party agreeing to arbitrate statutory claims does not “forgo the
                     substantive rights afforded by the statute; it only submits to their
                     resolution in an arbitral, rather than a judicial, forum.” Anders v.
                     Hometown Mortg. Servs., Inc., 346 F.3d 1024, 1029 (11th Cir.
                     2003)(quoting Mitsubishi Motors Corp. v. Soler Chrysler-
                     Plymouth, Inc., 473 U.S. 614, 628, 105 S.Ct. 3346, 87 L.Ed.2d 444
                     (1985)); Gilmer v. Interstate/Johnson Lane Corporation, 500 U.S.
                     20, 26, 111 S.Ct. 1647, 114 L.Ed.2d 26 (1991). Remedial
                     restrictions in an arbitration clause which deny meaningful statutory
                     relief may, however, in the absence of a severability clause,
                     invalidate the entire arbitration clause. See Paladino v. Avnet
                     Computer Technologies, Inc., 134 F.3d 1054 (11th Cir. 1998).




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      DE 30-1 ⁋ 8; DE 30-2, ⁋ 9.
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  Velazquez v. Corp. Transit of Am., Inc., 816CV00948T27AEP, 2016 WL 10537597, at *4 (M.D.

  Fla. Dec. 20, 2016).

         The alleged agreements filed at DE 30-1, DE 30-2 (refiled at DE 43-1 and DE 43-2), and

  DE 43-3 are unenforceable because they deny the meaningful statutory relief under the FLSA of

  Plaintiffs’ right to recover their fees and costs. Additionally, the alleged agreements do not have a

  severability provision; therefore, the objectionable provisions cannot simply be severed.4 The

  alleged agreements in their entirety are unenforceable.



                 Plaintiff argues that the one-way fee shifting clause in the
                 Agreement contradicts the FLSA and therefore renders the
                 arbitration provision unenforceable. Doc. 22 at 7–8. Other federal
                 courts have found similar provisions requiring the plaintiff to cover
                 his own attorney’s fees even if he ultimately were to prevail to be
                 unenforceable as applied to FLSA claims, as such provisions are
                 inconsistent with the purpose underlying the statutory claim. See,
                 e.g., Schatt v. Aventura Limousine & Transportation Service,
                 Inc., No. 10–22353–Civ., 2010 WL 4942654, at *3 (S.D.Fla.
                 Nov.30, 2010) (“It is clear that Plaintiff cannot be found to have
                 waived his right to recover his attorney’s fees. Thus, the
                 provision regarding attorney’s fees is unenforceable as applied
                 to this FLSA proceeding.”) (citing Lynn’s Food Stores, Inc. v.
                 United States, 679 F.2d 1350, 1355 (11th Cir.1982)). However,
                 where, as here, the relevant contract includes a severability
                 provision, the remainder of the agreement will be
                 unaffected. Schatt, 2010       WL         4942654,        at       *3


  4
                 Circuit precedent instructs that when an arbitration clause includes
                 a severability clause, the arbitration clause remains enforceable,
                 regardless of the validity of the remedial restrictions. Anders v.
                 Hometown Mortg. Servs., Inc., 346 F.3d 1024, 1032 (11th Cir. 2003)
                 (“Because any invalid provisions are severable, the underlying
                 claims are to be arbitrated regardless of the validity of the remedial
                 restrictions.”). And the validity of the remedial restrictions is to be
                 determined by the arbitrator. Id. at 1032 (“[A] arbitrator and not a
                 court should decide the validity of the remedial restriction
                 provisions.”).
  Velazquez v. Corp. Transit of Am., Inc., 816CV00948T27AEP, 2016 WL 10537597, at *5 (M.D.
  Fla. Dec. 20, 2016).
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                      (quoting Paladino v. Avnet Computer Techs., Inc., 134 F.3d 1054,
                      1059 (11th Cir.1998)). Accordingly, the Court finds that the
                      Agreement as a whole is not substantively unconscionable.

  Robinson v. Anytime Rentals, Inc., 2:14-CV-528-FTM-38CM, 2015 WL 4393709, at *4 (M.D.

  Fla. Feb. 20, 2015), report and recommendation adopted, 2:14-CV-528-FTM-38CM, 2015 WL

  4393476 (M.D. Fla. July 15, 2015) (emphasis added).

        III.      Plaintiffs’ FLSA claims are beyond the scope of the alleged agreements.

               Plaintiffs’ FLSA claims are beyond the scope of the alleged agreements filed at DE 30-1,

  DE 30-2 (refiled at DE 43-1 and DE 43-2), and DE 43-3; therefore, Plaintiffs’ claims are not

  subject to arbitration.

               The alleged agreements identify Plaintiffs as “employees”—not independent contractors—

  thereby acknowledging that Plaintiffs are entitled to the statutory protections afforded employees.

  The alleged agreements, however, do not mention any statutory rights or protections as being

  included within the scope of the arbitration provision. Instead, the scope of the arbitration

  provision is limited to the agreement itself: “Any dispute arising out of this agreement shall be

  resolved by mediation or arbitration…”5 Emphasis added.

               The alleged agreements only specify the alleged rates of pay to Plaintiffs. The agreements

  both (1) acknowledge that Plaintiffs are employees, and (2) are silent regarding overtime pay and

  any alleged exemptions to overtime. The alleged agreements fail to mention any statutory rights

  or employment or labor claims as being within their scope. Accordingly, the alleged agreements

  cannot be read to expand their scope beyond the substance of the alleged agreements.




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      DE 30-1 ⁋ 8; DE 30-2, ⁋ 9.
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         Despite acknowledging that Plaintiffs are employees, the alleged agreements never agreed

  to arbitrate any statutory claims, labor or employment claims, FLSA claims, nor any category of

  claims that include FLSA claims.

                Even though there is a presumption in favor of arbitration, the
                courts are not to twist the language of the contract to achieve a
                result which is favored by federal policy but contrary to the
                intent of the parties. Doe v. Princess Cruise Lines, 657 F.3d 1204,
                1214 (11th Cir. 2011).

                The FAA reflects the fundamental principle that arbitration is a
                matter of contract. Rent-A-Center, W., Inc., V. Jackson, 130 S. Ct.
                2772, 2776 (2010) (citing 9 U.S.C. § 2). Absent some ambiguity in
                the agreement, it is the language of the contract that defines the
                scope of disputes subject to arbitration. EEOC v. Waffle House,
                Inc., 534 U.S. 279, 289, 122 S. Ct. 754, 762. A court may order
                arbitration of a particular dispute only where the court is satisfied
                that the parties agreed to arbitrate that dispute. Granite Rock Co. v.
                Int’l Bhd. of Teamsters, 130 S. Ct. 2847, 2856 (2010) (internal
                citation omitted) (emphasis in original).

  Mirabal v. S.K.I. Limousines, Inc. et al, Case No. 13-21042-civ-Graham/Goodman, DE 13, pp. 2-

  3 (S. D. Fla. May 29, 2013) (emphasis added).

         As Eleventh Circuit precedent explains, if an arbitration provision is intended to have broad

  applicability, then such provision should use broad language. See Doe v. Princess Cruise Lines,

  Ltd., 657 F.3d 1204, 1218 (11th Cir.2011) (“If the cruise line had wanted a broader arbitration

  provision, it should have left the scope of it at ‘any and all disputes, claims, or controversies

  whatsoever’ instead of including the limitation that narrowed the scope to only those disputes,

  claims, or controversies ‘relating to or in any way arising out of or connected with the Crew

  Agreement, these terms, or services performed for the Company.’ ”).
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           Defendants cannot expand the alleged agreements to compel arbitration of claims that are

  beyond their scope. The scope of the alleged agreements is limited to “[a]ny dispute arising out of

  this agreement shall be resolved by mediation or arbitration…”6

           The alleged agreements are completely silent regarding statutory claims and fail to

  authorize the arbitrator to resolve federal statutory claims; therefore, Plaintiffs cannot be

  compelled to arbitrate their federal FLSA claims:

                   [A] mandatory arbitration clause does not bar litigation of a federal
                   statutory claim, unless three requirements are met. First, the
                   employee must have agreed individually to the contract containing
                   the arbitration clause—the union having agreed for the employee
                   during collective bargaining does not count. *527 Second, the
                   agreement must authorize the arbitrator to resolve federal statutory
                   claims—it is not enough that the arbitrator can resolve contract
                   claims, even if factual issues arising from those claims overlap with
                   the statutory claim issues. Third, the agreement must give the
                   employee the right to insist on arbitration if the federal statutory
                   claim is not resolved to his satisfaction in any grievance process. All
                   three of those requirements were met in the Gilmer case, which is
                   the latest word from the Supreme Court on the subject. None of the
                   requirements were met in this case.

  Brisentine v. Stone & Webster Eng’g Corp., 117 F.3d 519, 526–27 (11th Cir. 1997).

                   Brisentine does not stand for the proposition that an arbitration
                   agreement must specifically list every federal or state statute it
                   purports to cover. See, e.g., Bender v. A.G. Edwards & Sons,
                   Inc., 971 F.2d 698, 700 (11th Cir.1992) (finding that Title VII
                   claims were subject to arbitration where the arbitration agreement
                   stated that the parties agreed to arbitrate “any dispute, claim or
                   controversy that may arise between me and my firm, or a customer
                   or any other person that is required to be arbitrated under the rules,
                   constitution or by-laws of the organizations with which I register”).
                   To fall within the FAA’s ambit, however, an arbitration agreement
                   that purports to cover statutory claims must contain terms that
                   generally and fairly inform the signatories that it covers statutory
                   claims.

  Paladino v. Avnet Computer Techs., Inc., 134 F.3d 1054, 1059 (11th Cir. 1998)


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      DE 30-1 ⁋ 8; DE 43-1 ⁋ 9; DE 30-2, ⁋ 9; DE 43-2 ⁋ 8; DE 43-3 ⁋ 9.
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          The alleged agreements do not contain terms that generally and fairly inform Plaintiffs that

   the alleged agreements cover statutory claims.

          WHEREFORE, Plaintiffs respectfully request that the Court deny Defendants’ Renewed

   Motion to Stay Proceedings and Compel Arbitration and Incorporated Memorandum of Law [DE

   43] or, in the alternative, Plaintiffs demand a jury trial on the enforceability of the alleged

   agreements.

                                                Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
   on February 5, 2019 with the Clerk of Court using CM/ECF along with having served all counsel
   of record or pro se parties identified on the service list incorporated herein in the manner specified,
   either via transmission of Electronic filing generated by CM/ECF or in some other authorized
   manner for those counsel or parties not authorized to receive electronically Notice of Electronic
   Filing.




                                                  Elliot Kozolchyk, Esq.

                                             SERVICE LIST

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